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       EXHIBIT 22
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                       Matthew Heimbach                                                              V
                       57 minutes ago

        So looks like Byron de la Vandal, who's music I did enj oy, agreed t o renounce all of us,
        take anti hate training, and give a video confession and r·enunciation to be used in anti
        nationalist propaganda, all because of a lawsuit.


        Lawsuits are just money, and as the Bible t ells us "No man can serve two masters: for
        either he. w ill hate the one, and love the other; or else. he will hold to the one, and
        despise the other, Ye cannot serve God and mammon."


        Too many self described ' nationalists• will tum in their comrades, betray t heir principles,
        and renounce their views; not under torture, not under threat of death, but due to a fear
        of losing money.

        Millions of men have died for nationalism throughout history, and we blink in Am erica at
        t he slightest pain or discomfort




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           Settlement requires 'anti-hate training' for internet t roll
           "utv.com


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WHO CREATES INFRASTRUCTURE AND INDUSTRY?
                                                                            Manhew Heimbach
                                                                              Jan at ,:i !I- pl'""
                                                                            JC,




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                                                                  'Tm; bourgeo is ie has to yie ld to the working
                                                                  class __ Whatever is a bout to fall should be



THE         WORKERS                        DO
                                                                  p us hed. We a re a ll ao ,d ie rs of the revo ution. We
                                                                  want the worke•a' victory o ver filthy ucre. That is
                                                                  socia lis m.• - Dr Joseph Goe bbels

BUT WHO MAINTAINS THAT INFRASTRUCTUREAND INDUSTRY?




THE WORKERS DO
BUTWHO THENBECOMES WEALTHY FROM THE WORKERS LABOR?




THE RULING CLASS                                                       Commenting on th s photo s restricted



ONlY EXISTS RY EXPlDITING WORKERS LABOR FOR PROFIT

   TALK TO YOUR UNION                   GET ARMED AND
    REPRESENTATIVES!                   ORGANIZED TODA YI




Matthew·a wall photos · · ·
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                                                         -       Matthew Heimbach
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                                                                  Matthew Heimbach
                                                                  3 Feb at "' .12 p-




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           Matthew Heimbach                                       +   Follow
           Feb 6, 2019 at 9:35 am e

   We must be active to make the Revolution happen!

   Sitting online or in end less debating clubs will never resu lt in our
   victory, only action w ill pave the way for our bright future.


            The revolution can be pushed forward
            only by the active struggle of the
            revolutionaries and the popular masses.
            Fundan1entally speaking, a revolution
            does not always break out when all the
            necessary conditions exist, nor is it
            carried out always in favourable
            circu111stances.

            Waiting with folded arn1s for all
            conditions to ripen is tantan1ount to
            refusing to make a revolution. Prin1ary
            i1nportance, therefore, should be given to
            the ideological factor in the
            revolutionary struggle and                    •
            construction work, and on this        ·~
            basis strenuous efforts should           bc1_ ..,_
            n1ade to create all the necessary '
                                                ,.,,,,,-..,,.
            conditions.

            Kin1Jong Il

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                  Matthew Heimbach
                  )e:51'.erda at 4:'.!6 pm                                         11¢ ·:H
         Whats the proper etiquette when the people suing you make sweet quote graphics of
         things you said?




                                "Of course
                                   e look u to
                                like
                                             -Matthew Heimbach, Defendant




         ,~ 21     Q     1      More                                                     0   181
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             Matthew Heimbach                                                                 +   Follow
             Feb 16, 2019 at 11:13 am

  The NSM, I guess formerly under Jeff Schoep is now under the legal
  control of a Black Civil Rights advocate who has previously dissolved
  White nationalist organizations who got into legal trouble.

  Reverend James Hart Stern is now the President/Director of the
  National Socialist Movement, according to legal filings.

  I honestly don 't even know what to say about this, but I look forward
  to a public statement from the NSM to explain and clarify exactly
  what is going on.

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  https://www.documentcloud.org/documents/5740625-Stern ..

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